                 Exhibit JJJ




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  IMPACT REPORT 2022




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Democracy Summer
For 24 years, Democracy Summer has enriched the lives of
young leaders across North Carolina. Our paid internship is
an opportunity for student activists to sharpen their skills in
civic and political engagement.

Last year, our 22 Friendterns:
   Built power alongside historically marginalized groups.
   Learned strategic communications and legislative
   advocacy.
   Researched public policies and election laws.
   Led successful peer-to-peer fundraising campaigns.

                                   "Democracy Summer taught me the
                                        power ofgrassroots organizing.
                                     I became a witness to the fight for
                                   equity and the impact that students
                                        can make in their community."
                                      Jemiah Williams, 2022 Alumni (left)




"Democracy Summer has inspired
me to pursue a career in social                                         A
justice and mutual aid. I will
continue to apply the lessons and
experiences to my own life path."
PPn Ellio++, ?0?2 Alumni (right)




  p         p
                     Support our friendterns
                     today: demnc.co/donate
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From Our Leadership
Democracy NC is proud to celebrate "30 years of people power"
and a legacy of grassroots change. Together in 2022, we worked
to make voting easier, more accessible, and more equitable. We
defended voter freedoms and worked to ensure that every North
Carolinian had an equal opportunity to cast their ballot.

We rallied our grassroots advocates against bad bills that would
have built voting barriers. We fought back against white suprem-
acy and voter suppression, lifting up Black and brown voices in
the process. We educated millions of voters — defending a
democracy that is truly of, by, and for the people.

From faith partners and campus coordinators to elections
advocates and vote protectors, our dedicated supporters made
the work possible. Thousands of people worked together to
make a difference in their communities.

True democracy is possible and worth the work.

In 2023, we will continue to harness the power of our grassroots
supporters and protect the future of voting rights for generations
to come.

Sincerely,

Randy Lucas, Board Chair
Adrienne Kelly, Co-Executive Director                2022 Board Members:
Cheryl Carter, Co-Executive Director                              Randy Lucas
                                                             Meredith Emmett
                                                                  Jim Overton
                                                                 Irving Joyner
                                                           Greg Walker-Wilson
                                                                 April Dawson
                                                                    Judy Futch
                                                              Cynthia Wallace
                                                         Ajamu Amiri Dillahunt
                                                               Lisa Levenstein



  Democracy NC is led by 19 full-time and11part-time
      staffmembers, located across the state.

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Our Financials                                          Every dollar coin

         Operations



35.2%



10.3%    Advocacy



34.3%




 Grassroots donations fund our programs 365
days a year. 100% of our contributions are put to
     work in North Carolina, immediately.




                              National          Statewide      Individual
                              Partners          Partners         Donors




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Making a Difference
Your grassroots dollars make our work possible!

In February 2022, the Rockingham County Board of
Elections removed 3 of its 4 early voting sites. Thanks to
pressure applied by our regional advocates, all 4 sites were
reinstated — protecting critical access to the ballot box for
hundreds of voters.

During the General Election, Vote Protectors helped save
more than 100 votes in Mecklenburg County by helping
voters find their correct voting sites after the Beatties Ford
Library precinct was closed without adequate notice to the
public.

Democracy NC's Election Protection Hotline received more
than 3,000 calls from voters during the midterms. Over 900
calls were answered on Election Day alone.

Over $100,000 was invested in 45 grassroots community
partners through the Adopt-a-Precinct program and voter
engagement programs during the 2022 election cycle.




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Statewide Impact
Our movement spans across NC. Check out our impact below!

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  COUNTY COVERAGE MAP
   Western NC                                Western Piedmont                            Central Piedmont                                Eastern NC                                            Southeastern NC                                    Youth Outreach




   Want to learn more? Stay up to date on election information
     and voter education at                                                                                                                                          or call 888-OUR-VOTE.


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